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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

                                  )
In re:                            )                            Chapter 11
                                  )
CENTER CITY HEALTHCARE, LLC d/b/a )
HAHNEMANN UNIVERSITY HOSPITAL, )                               Case No. 19-11466 (MFW)
et al.,1                          )
                                  )                            Jointly Administered
                    Debtors.      )
                                  )                            Objection Deadline: January 21, 2021 at 4:00 p.m.
                                                               Hearing Date: Only if an objection is filed
                                  )

      SUMMARY COVER SHEET TO THE SIXTEENTH MONTHLY FEE APPLICATION
        OF SAUL EWING ARNSTEIN & LEHR LLP, COUNSEL TO THE DEBTORS,
      FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
        FOR THE PERIOD FROM OCTOBER 1, 2020 THROUGH OCTOBER 31, 2020

      Name of Applicant:                                                 Saul Ewing Arnstein & Lehr LLP
      Authorized to Provide Professional Services to:                    Debtors and Debtors-in-Possession
      Date of Retention:                                                 Nunc pro tunc to June 30, 2019
      Period for which compensation and
      reimbursement is sought:                                           October 1, 2020 through October 31, 2020
      Amount of Compensation sought as actual,                           $476,292.15
      reasonable and necessary:                                          (80% of which is $381,033.72)
      Amount of Expense Reimbursement sought as
      actual, reasonable and necessary:                                  $24,949.36

  This is an: X monthly          ___ interim       ___ final application.

  Saul Ewing Arnstein & Lehr LLP intends to seek compensation in connection with the preparation
  of this Application at a later date.



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               The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
               are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
               Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA,
               L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center,
               L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics,
               L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS
               IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is 216 North Broad
               Street, 4th Floor, Philadelphia, Pennsylvania 19102.


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Prior Applications:


    Date and             Filing Period   Requested Fees   Requested       Approved      Approved      Unapproved      CNO Date
   Docket No.                                             Expenses          Fees        Expenses     Fees/ Expenses   and Docket
                                                                                                                         No.

                           06/30/2019
     09/20/2019               through                                                                                  10/14/2019
        D.I. 752           07/31/2019       $649,127.65     $9,401.98     $649,127.65    $9,401.98            $0.00       D.I. 850

                           08/01/2019
     10/18/2019               through                                                                                  11/08/2019
        D.I. 880           08/31/2019       $629,870.40    $39,528.38     $629,870.40   $39,528.38            $0.00       D.I. 973

                           09/01/2019
     11/08/2019               through                                                                                  12/03/2019
        D.I. 974           09/30/2019       $515,905.90    $24,370.50     $515,905.90   $24,370.50            $0.00     D.I. 1084

                           10/01/2019
     12/18/2019               through                                                                                  01/08/2020
     D.I. 12093            10/31/2019       $390,494.40    $13,183.61     $390,494.40   $13,183.61            $0.00     D.I. 1303

                           11/01/2019
     01/08/2020               through                                                                                  01/30/2020
      D.I. 1300            11/30/2019       $335,436.85     $2,998.24     $335,436.85    $2,998.24            $0.00     D.I. 1376

                           12/01/2019
     02/27/2020               through                                                                                  04/02/2020
      D.I. 1433            12/31/2019       $506,526.70     $3,453.00     $506,526.70    $3,453.00            $0.00     D.I. 1547

                           01/01/2020
     04/09/2020               through                                                                                  05/01/2020
      D.I. 1568            01/31/2020       $403,578.50     $7,193.29     $403,578.50    $7,193.29            $0.00     D.I. 1612

                           02/01/2020
     05/05/2020               through                                                                                  05/27/2020
      D.I. 1613            02/29/2020       $264,023.70     $2,537.47     $264,023.70    $2,537.47            $0.00     D.I. 1640

                           03/01/2020
     05/27/2020               through                                                                                  06/17/2020
      D.I. 1638            03/31/2020       $247,941.45     $8,430.64     $247,941.45    $8,430.64            $0.00     D.I. 1672

                           04/01/2020
     06/22/2020               through                                                                                  07/21/2020
       D.I. 1677           04/30/2020       $181,351.35     $5,855.15     $145,081.08    $5,855.15       $36,270.27     D.I. 1701

                           05/01/2020
     07/30/2020               through                                                                                  08/20/2020
      D.I. 1716            05/31/2020       $206,838.00     $3,468.25     $165,470.40    $3,468.25       $41,367.60     D.I. 1751

                           06/01/2020
     08/19/2020               through                                                                                  09/09/2020
      D.I. 1748            06/30/2020       $215,678.25     $4,772.59     $172,542.60    $4,772.59       $43,135.65      D.I. 1778

                           07/01/2020
     09/28/2020               through                                                                                  10/20/2020
      D.I. 1795            07/31/2020       $223,273.80    $15,773.96     $178,619.04   $15,773.96       $44,654.76      D.I. 1834



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    Date and             Filing Period   Requested Fees    Requested       Approved       Approved       Unapproved      CNO Date
   Docket No.                                              Expenses          Fees         Expenses      Fees/ Expenses   and Docket
                                                                                                                            No.

                           08/01/2020
     10/19/2020               through                                                                                     11/11/2020
       D.I. 1824           08/31/2020       $278,028.00      $5,435.78     $222,422.40     $5,435.78        $55,605.60     D.I. 1883

                           09/01/2020
     11/30/2020               through                                                                                     12/22/2020
      D.I. 1937            09/30/2020       $401,875.85      $6,288.48     $321,500.68      $6,288.48       $80,375.17     D.I. 1987
                             TOTAL         $5,449,950.80   $152,691.32    $5,148,541.75   $152,691.32      $301,409.05




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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                  )
In re:                            )                            Chapter 11
                                  )
CENTER CITY HEALTHCARE, LLC d/b/a )
HAHNEMANN UNIVERSITY HOSPITAL, )                               Case No. 19-11466 (MFW)
et al.,1                          )
                                  )                            Jointly Administered
                    Debtors.      )
                                  )                            Objection Deadline: January 21, 2021 at 4:00 p.m.
                                                               Hearing Date: Only if an objection is filed
                                  )

  SIXTEENTH MONTHLY FEE APPLICATION OF SAUL EWING ARNSTEIN & LEHR
  LLP, COUNSEL TO THE DEBTORS, FOR ALLOWANCE OF COMPENSATION AND
    REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM OCTOBER 1, 2020
                       THROUGH OCTOBER 31, 2020

                Saul Ewing Arnstein & Lehr LLP (“Saul Ewing” or “Applicant”), counsel to the debtors

  and debtors-in-possession (the “Debtors”), hereby applies to the Court for interim allowance of

  compensation for the period October 1, 2020 through October 31, 2020 (the “Application

  Period”) with respect to its retention as counsel to the Debtors. In support of this Application,

  Saul Ewing represents as follows:

                                                         Background

               1.          The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

  This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue is proper

  pursuant to 28 U.S.C. §§ 1408 and 1409.




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               The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
               are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
               Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA,
               L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center,
               L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics,
               L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS
               IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is 216 North Broad
               Street, 4th Floor, Philadelphia, Pennsylvania 19102.


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             2.          The statutory bases for the relief requested herein are sections 330 and 331 of the

Bankruptcy Code.

                                                      Jurisdiction

             3.          On June 30, 2019 and July 1, 2019 (together, the “Petition Date”), each of the

Debtors filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code. The Debtors

are operating their businesses and managing their properties as debtors in possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code. No request for the appointment of a trustee

or examiner has been made in these Chapter 11 Cases.

             4.          On July 15, 2019, the Office of the United States Trustee (the “UST”) appointed

the Official Committee of Unsecured Creditors of Center City Healthcare d/b/a Hahnemann

University Hospital, et al. (the “Committee”) pursuant to section 1102 of the Bankruptcy Code.

             5.          On August 2, 2019, the Court entered the Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Professionals [D.I. 341] (the “Interim

Compensation Order”), which sets forth the procedures for interim compensation and

reimbursement of expenses for all professionals in the Chapter 11 Cases.

                                             Retention of Saul Ewing

             6.          On August 8, 2019, this Court entered the Order Authorizing the Employment and

Retention of Saul Ewing Arnstein & Lehr LLP as Counsel to the Debtors, Nunc Pro Tunc to the

Petition Date [D.I. 404].

                                          Professional Services Rendered

             7.          During   the   Application     Period,    Saul   Ewing    partners,   associates   and

paraprofessionals rendered a total of 1,135.50 hours of professional services to the Debtors, for

which Saul Ewing requests allowance of interim compensation in the amount of $476,292.15. The




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blended hourly rate for the hours included in this Application is equal to $419.45 per hour,

calculated as to attorneys, paralegals and paraprofessionals. At all times, work was assigned to

the attorney, paralegal or paraprofessional with the lowest billing rate possible commensurate with

the skill, background, responsibility and expertise needed to do the work efficiently.

             8.          Saul Ewing’s hourly rates are set at a level designed to compensate Saul Ewing for

the work of its attorneys, paralegals and paraprofessionals and to cover fixed and routine expenses.

The hourly rates and corresponding hourly rates structure utilized by Saul Ewing in these Chapter

11 Cases are equivalent to the hourly rates and corresponding rate structure used by Saul Ewing

for other corporate restructuring and bankruptcy matters, as well as similar complex corporate,

labor, real estate and litigation matters, whether in court or otherwise, regardless of whether a fee

application is required. Attached hereto as Exhibit A is a summary of the blended hourly rates for

timekeepers who billed during the Application Period and Saul Ewing’s firm-wide range of billing

rates for its various positions.

             9.          Saul Ewing maintains computerized records of all time expended for the

professional services rendered in connection with these Chapter 11 Cases on behalf of the Debtors.

Attached hereto as Exhibit B is a summary of fees incurred and hours expended during the

Application Period along with a detailed, chronological itemization covering all the services

performed by Applicant. This detailed itemization complies with Del. Bankr. L.R. 2016-2(d) in

that (i) each time entry contains a separate time allotment, a description of the type of activity and

the subject matter of the activity, (ii) all time is billed in increments of one-tenth of an hour, and

(iii) time entries are presented chronologically by Applicant.




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             10.         Attached hereto as Exhibit C is a detailed itemization, by project category, of all

services performed by Applicant with respect to these matters during the Application Period. Non-

working travel time (to the extent applicable) is billed at 50% of normal rates.

             11.         Attached hereto as Exhibit D is a description of the costs actually expended by the

Applicant in the performance of services rendered as counsel to the Debtors during the Application

Period. These costs for which reimbursement is requested total $24,949.36. The breakdown of

costs includes the rate for copying charges ($.10/page) and the basis for each rate, facsimile

charges ($.25/page – outgoing transmission only), telephone charges, postage, messenger service,

outside photocopying, teleconferencing and legal research. By this Application, the Applicant

does not seek expenses for incoming facsimile transmissions.

             12.         Attached hereto as Exhibit E is a Declaration of Applicant with respect to the

compensation requested.

                                 Summary of Legal Services by Project Category

             13.         The services rendered by Saul Ewing during the Application Period can be grouped

in the categories set forth below. The following chart is a summary of the fees and hours billed

for each project category during the Application Period.

                             Project Category                        Total Hours           Total Fees
    Asset Sale Disposition                                               6.60                     $4,408.00
    Business Operations                                                 80.00                    $51,343.50
    Case Administration                                                 29.30                    $16,941.50
    Claims Analysis, Objections, Proofs of Claim and Bar
    Date                                                                126.10                   $53,273.50
    Committee Matters                                                   45.00                    $30,070.50
    Creditor Inquiries                                                   0.50                       $260.00
    Employee Benefits and Pensions                                       1.40                       $784.00
    Executory Contracts and Unexpired Leases                            14.20                     $9,704.50
    Fee/Employment Applications (Saul Ewing)                            16.30                     $4,432.50
    Fee/Employment Applications (Other Professionals)                    5.00                     $1,984.50


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                               Project Category                        Total Hours            Total Fees
    Litigation: Contested Matters and Adversary Proceedings               794.50                     $345,298.00
    Plan and Disclosure Statement                                          6.80                        $4,225.00
    Preparation for and Attendance at Hearing                              2.10                        $1,539.00
    Relief from Stay and Adequate Protection                               5.80                        $3,793.00
    UST Reports, Meetings and Issues                                       1.70                        $1,066.00
    Utilities                                                              0.20                           $90.00
                                   TOTAL                                  1135.50                    $529,213.50
                         Minus Agreed Upon Discount                                                  ($52,921.35)
                              GRAND TOTAL                                 1135.50                    $476,292.15

             14.         These categories are generally described below, with a more detailed identification

of the actual services provided set forth in Exhibit C attached hereto.

                         (a)     Asset Sale Disposition. This category includes all matters relating to the
                                 disposition, and other post-petition uses of, property of the estate, including
                                 issues arising from the sale of substantially all of the Debtors’ assets. Time
                                 in this category includes communicating with STC OpCo, LLC (the
                                 “Buyer”) regarding a domain name transfer; reviewing various HPP-related
                                 documents regarding lease issues; and communicating with the Debtors
                                 regarding a domain name transfer, additional equipment to be sold and other
                                 sale-related issues. Saul Ewing spent 6.60 hours of attorney time on the
                                 foregoing services. Said services have a value of $4,408.00 (discounted to
                                 $3,967.20) for which Saul Ewing is seeking compensation.

                                                             Asset Sale Disposition
                                      Professionals         Position         Hours         Compensation
                                   M. Minuti            Partner               0.20                    $152.00
                                   J. Hampton           Partner               2.80                $1,862.00
                                   A. Isenberg       Partner                  3.60                $2,394.00
                                   Total                                      6.60                $4,408.00
                                   Minus Agreed Upon Discount                                     ($440.80)
                                   Grand Total                                6.60                $3,967.20

                         (b)     Business Operations. This category includes all matters relating to the
                                 operation of the Debtors’ businesses. Time in this category includes
                                 communicating with various vendors regarding payment and service issues;
                                 reviewing materials regarding straddle payments, insurance policies and
                                 Pennsylvania Department of Health System (“DHS”) appeal documents;
                                 reviewing and revising corporate governance documents and a term sheet;
                                 communicating with Debtors and their non-debtor affiliates regarding



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                               corporate governance issues; preparing for and participating in a DHS
                               administrative status conference; and communicating with the Debtors
                               regarding, inter alia, vendor issues, case strategy, corporate governance,
                               payroll tax returns, a DHS assessment appeal and certain regulatory and
                               insurance issues. Saul Ewing spent 80.00 hours of attorney time on the
                               foregoing services. Said services have a value of $51,343.50 (discounted
                               to $46,209.15) for which Saul Ewing is seeking compensation.

                                                            Business Operations
                                    Professionals        Position         Hours         Compensation

                                 M. Minuti           Partner               5.90               $4,484.00
                                 J. Hampton          Partner               54.10             $35,976.50
                                 A. Isenberg         Partner               0.20                   $133.00
                                 J. Englert          Partner               0.80                   $500.00
                                 W. Warren           Partner               7.40               $4,403.00
                                 R. Frazier          Partner               3.80               $2,261.00
                                 M. Haar             Partner               5.40               $2,943.00
                                 M. DiSabatino       Partner               0.10                    $45.00
                                 S. McGuire        Associate               2.30                 $598.00
                                 Total                                     80.00             $51,343.50
                                 Minus Agreed Upon Discount                                  ($5,134.35)
                                 Grand Total                               80.00             $46,209.15

                         (c)   Case Administration. This category includes all matters related to work
                               regarding the administration of the case. Time in this category includes
                               updating a case calendar; analyzing the status of open motions and open
                               issues; drafting, revising and filing notices of agenda and amended agenda;
                               participating in meetings with the Debtors regarding case issues; and
                               communicating with Omni Agent Solutions (“Omni”) regarding service
                               instructions for various documents and service issues. Saul Ewing spent
                               29.30 hours of attorney and paraprofessional time on the foregoing services.
                               Said services have a value of $16,941.50 (discounted to $15,247.35) for
                               which Saul Ewing is seeking compensation.




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                                                           Case Administration
                                   Professionals        Position         Hours         Compensation
                                M. Minuti           Partner               0.50                   $380.00
                                J. Hampton          Partner               6.10                $4,056.50
                                A. Isenberg         Partner               15.30              $10,174.50
                                M. DiSabatino       Partner               1.30                 $585.00
                                M. Martinez         Associate             3.90                $1,228.50
                                R. Warren           Paraprofessional      2.20                 $517.00
                                Total                                     29.30              $16,941.50
                                Minus Agreed Upon Discount                                  ($1,694.15)
                                Grand Total                               29.30             $15,247.35

                        (d)   Claims Analysis, Objections, Proofs of Claim and Bar Date. This category
                              includes all time spent in connection with claim and bar date issues. Time
                              in this category includes negotiating resolutions of administrative claim
                              motions (the “Motion”); drafting, revising and filing stipulations and orders
                              resolving the Motions; reviewing and analyzing proofs of claim and claims
                              analyses; drafting and revising an omnibus claim objection; conducting
                              research concerning certain priority claims; and communicating with the
                              Debtors and Committee counsel regarding claim issues. Saul Ewing spent
                              126.10 hours of attorney and paraprofessional time on the foregoing
                              services. Said services have a value of $53,273.50 (discounted to
                              $47,946.15) for which Saul Ewing is seeking compensation.

                                       Claims Analysis, Objections, Proofs of Claim and Bar Date
                                   Professionals        Position         Hours         Compensation
                                M. Minuti           Partner               2.50                $1,900.00
                                J. Hampton          Partner               7.90                $5,253.50
                                A. Isenberg         Partner               13.80               $9,177.00
                                M. DiSabatino       Partner               53.60              $24,120.00
                                M. Martinez         Associate             5.00                $1,575.00
                                S. McGuire          Associate             42.90              $11,154.00
                                R. Warren           Paraprofessional      0.40                   $94.00
                                Total                                    126.10              $53,273.50
                                Minus Agreed Upon Discount                                   ($5,327.35
                                Grand Total                              126.10              $47,946.15




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                        (e)   Committee Matters. This category includes all time spent in connection with
                              issues involving the Committee. Time in this category includes
                              communicating with the Committee regarding a document request, search
                              terms, claim issues, corporate governance and certain other case issues;
                              reviewing and revising a consent/protective order with the Committee;
                              preparing for and participating in calls with the Committee regarding
                              discovery issues; and reviewing and assembling documents to produce to
                              the Committee. Saul Ewing spent 45.00 hours of attorney time on the
                              foregoing services. Said services have a value of $30,070.50 (discounted
                              to $27,063.45) for which Saul Ewing is seeking compensation.

                                                            Committee Matters
                                  Professionals         Position          Hours         Compensation

                                M. Minuti           Partner                9.00               $6,840.00
                                J. Hampton          Partner                32.60             $21,679.00
                                A. Isenberg         Partner                0.10                    $66.50
                                C. Contreras-
                                Martinez            Counsel                3.30               $1,485.00
                                Total                                      45.00             $30,070.50
                                Minus Agreed Upon Discount                                   ($3,007.05)
                                Grand Total                                45.00             $27,063.45

                        (f)   Creditor Inquiries.   This category includes all matters related to
                              communicating with creditors regarding case status and distribution
                              inquiries. Saul Ewing spent 0.50 of an hour of attorney time on the
                              foregoing services. Said services have a value of $260.00 (discounted to
                              $234.00) for which Saul Ewing is seeking compensation.

                                                            Creditor Inquiries
                                  Professionals         Position          Hours         Compensation

                                M. Minuti           Partner                0.20                   $152.00
                                M. DiSabatino       Partner                0.10                    $45.00
                                M. Martinez       Associate                0.20                     $63.00
                                Total                                      0.50                   $260.00
                                Minus Agreed Upon Discount                                        ($26.00)
                                Grand Total                                0.50                   $234.00

                        (g)   Employee Benefits and Pensions. This category includes all time spent in
                              connection with various employee issues. Time in this category includes
                              reviewing and analyzing audit materials and invoices; and drafting and
                              revising a response regarding non-qualified deferred compensation plan



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                              services and termination issues. Saul Ewing spent 1.40 hours of attorney
                              time on the foregoing services. Said services have a value of $784.00
                              (discounted to $705.60) for which Saul Ewing is seeking compensation.

                                                   Employee Benefits and Pensions
                                   Professionals        Position         Hours         Compensation

                                Paul A. Kasicky   Counsel                 1.40                   $784.00
                                Total                                     1.40                   $784.00
                                Minus Agreed Upon Discount                                       ($78.40)
                                Grand Total                               1.40                   $705.60

                        (h)   Executory Contracts and Unexpired Leases. This category includes all time
                              spent in connection with contract and lease analysis, the assumption,
                              assignment or rejection of executory contracts and unexpired leases, and
                              cure claims. Time in this category includes reviewing an HSRE claim
                              analysis; reviewing HSRE discovery and a proposed discovery order;
                              communicating with counsel to HSRE regarding lease issues; and
                              communicating with the Debtors regarding lease and HSRE issues. Saul
                              Ewing spent 14.20 hours of attorney time on the foregoing services. Said
                              services have a value of $9,704.50 (discounted to $8,734.05) for which Saul
                              Ewing is seeking compensation.

                                              Executory Contracts and Unexpired Leases
                                   Professionals        Position         Hours         Compensation

                                M. Minuti           Partner               2.50               $1,900.00
                                M. Burg             Partner               1.20                $822.00
                                A. Isenberg         Partner               10.50              $6,982.50
                                Total                                     14.20              $9,704.50
                                Minus Agreed Upon Discount                                   ($970.45)
                                Grand Total                               14.20              $8,734.05

                        (i)   Fee/Employment Applications (Saul Ewing). This category includes all
                              matters related to the review and preparation of a retention application and
                              fee applications for Saul Ewing. Time in this category includes drafting,
                              revising and filing Saul Ewing’s fourteenth monthly and third interim fee
                              applications and a certification of no objection on Saul Ewing’s thirteenth
                              monthly fee application. Saul Ewing spent 16.30 hours of attorney and
                              paraprofessional time on the foregoing services. Said services have a value
                              of $4,432.50 (discounted to $3,989.25) for which Saul Ewing is seeking
                              compensation.




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                                                Fee/Employment Applications (Saul Ewing)
                                   Professionals         Position         Hours         Compensation

                                J. Hampton           Partner               0.40                   $266.00
                                M. DiSabatino        Partner               2.00                   $900.00
                                R. Warren            Paraprofessional      13.90                $3,266.50
                                Total                                      16.30                $4,432.50
                                Minus Agreed Upon Discount                                      ($443.25)
                                Grand Total                                16.30                $3,989.25

                        (j)   Fee/Employment Applications (Other Professionals). This category includes
                              all matters related to the review and analysis and filing of retention and fee
                              applications for other professionals in these Chapter 11 Cases. Time in this
                              category includes revising and filing EisnerAmper LLP’s
                              (“EisnerAmper”) monthly staffing report and a certification of no
                              objection regarding same; negotiating a resolution to an objection to
                              EisnerAmper’s monthly staffing report and drafting and filing a withdrawal
                              of same; and revising and filing a supplemental Centurion retention
                              application. Saul Ewing spent 5.00 hours of attorney and paraprofessional
                              time on the foregoing services. Said services have a value of $1,984.50
                              (discounted to $1,786.05) for which Saul Ewing is seeking compensation.

                                            Fee/Employment Applications (Other Professionals)
                                   Professionals         Position         Hours         Compensation
                                M. Minuti            Partner               1.00                   $760.00
                                A. Isenberg          Partner               0.20                   $133.00
                                M. DiSabatino        Partner               0.70                   $315.00
                                M. Martinez          Associate             0.60                   $189.00
                                R. Warren            Paraprofessional      2.50                  $587.50
                                Total                                      5.00                 $1984.50
                                Minus Agreed Upon Discount                                      ($198.45)
                                Grand Total                                5.00                 $1,786.05

                        (k)   Litigation: Contested Matters and Adversary Proceedings. This category
                              includes all matters related to litigation. Time in this category includes
                              reviewing documentation regarding estate causes of action and updating
                              memoranda regarding same; conducting research concerning standing to
                              assert certain estate claims and privilege issues and drafting a memoranda
                              regarding same; drafting and revising a 2004 motion; reviewing and revising
                              a discovery stipulation; communicating with the Debtors and non-debtor
                              affiliates regarding discovery issues; and communicating with the Debtors



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                           and the Committee regarding the discovery issues, possible estate claims
                           and pending litigation. Saul Ewing spent 794.50 hours of attorney and
                           support staff time on the foregoing services. Said services have a value of
                           $345,298.00 (discounted to $310,768.20) for which Saul Ewing is seeking
                           compensation.

                                       Litigation: Contested Matters and Adversary Proceedings
                               Professionals           Position         Hours         Compensation

                             J. O’Dea              Partner               46.90             $38,692.50
                             M. Minuti             Partner               52.30             $39,748.00
                             J. Demmy              Partner               9.50               $6,792.50
                             E. Geekie             Partner               2.50               $1,737.50
                             J. Hampton            Partner               33.10             $22,011.50
                             A. Isenberg           Partner               59.00             $39,235.00
                             A. Kline              Partner               5.30               $3,365.50
                             M. Novick             Partner               7.00               $4,095.00
                             A. Bilus              Partner               16.50              $8,167.50
                             M. DiSabatino         Partner               2.90               $1,305.00
                             P. Hromisin           Counsel               29.40             $13,965.00
                             C. Contreras-
                             Martinez              Counsel               19.30              $8,685.00
                             S. Simon              Associate             20.90              $7,942.00
                             A. Burdette           Associate             7.80               $2,964.00
                             J. Rosenfeld          Associate             97.30             $35,028.00
                             D. Sampson            Associate             55.60             $18,904.00
                             J. Sweeny             Associate             5.60               $1,820.00
                             J. Walton             Associate             12.80              $4,032.00
                             C. McGuinness         Associate             29.70              $9,058.50
                             J. Marty              Associate             20.60              $6,283.00
                             C. Burns              Associate             20.20              $6,161.00
                             C. Toll               Associate             87.80             $25,023.00
                             G. Waterworth         Associate             19.00              $5,415.00
                             S. McGuire            Associate             26.80              $6,968.00
                             R. Starner            Associate             90.80             $23,608.00
                             Z. Kizitaff           Associate             12.40              $3,224.00




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                                                  Litigation
                                A. Rosenthal      Support                  3.50                $1,067.50
                                Total                                     794.50            $345,298.00
                                Minus Agreed Upon Discount                                  ($34,529.80)
                                Grand Total                               794.50            $310,768.20

                        (l)   Plan and Disclosure Statement. This category includes time related to plan
                              and disclosure issues. Time in this category includes revising and filing a
                              motion to further extend the exclusivity period; communicating with the
                              Committee and the UST regarding the exclusivity motion; and
                              communicating with the Debtors and the Committee regarding plan issues.
                              Saul Ewing spent 6.8 hours of attorney and paraprofessional time on the
                              foregoing services. Said services have a value of $4,225.00 (discounted to
                              $3,802.50) for which Saul Ewing is seeking compensation.

                                                     Plan and Disclosure Statement
                                   Professionals         Position         Hours         Compensation
                                M. Minuti            Partner               1.40               $1,064.00
                                J. Hampton           Partner               1.90               $1,263.50
                                A. Isenberg          Partner               2.10               $1,396.50
                                M. DiSabatino        Partner               0.80                   $360.00
                                R. Warren            Paraprofessional      0.60                   $141.00
                                Total                                      6.80               $4,225.00
                                Minus Agreed Upon Discount                                    ($422.50)
                                Grand Total                                6.80               $3,802.50

                        (m)   Preparation for and Attendance at Hearing. This category includes time
                              related to the preparation for and attendance at various court hearings. Saul
                              Ewing spent 2.10 of an hour of attorney time on the foregoing services. Said
                              services have a value of $1,539.00 (discounted to $1,385.10) for which Saul
                              Ewing is seeking compensation.

                                                Preparation for and Attendance at Hearing
                                   Professionals         Position         Hours         Compensation
                                M. Minuti         Partner                  1.50               $1,140.00
                                A. Isenberg       Partner                  0.60                 $399.00
                                Total                                      2.10               $1,539.00
                                Minus Agreed Upon Discount                                    ($153.90)
                                Grand Total                                2.10               $1,385.10

                        (n)   Relief From Stay and Adequate Protection. This category includes all
                              matters relating to relief from the automatic stay. Time in this category


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                              includes communicating with attorneys for personal injury claimants
                              regarding lift stay requests; drafting, revising and filing stay relief
                              stipulations; communicating with CMS regarding a resolution of CMS’s
                              motion for stay relief (the “Setoff Motion”); drafting, revising and filing a
                              certification of counsel submitting an order resolving the Setoff Motion;
                              reviewing a motion for relief and a motion to expedite the same;
                              communicating with the Debtors regarding the Setoff Motion and personal
                              injury claims. Saul Ewing spent 5.80 hours of attorney and paraprofessional
                              time on the foregoing services. Said services have a value of $3,793.00
                              (discounted to $3,413.70) for which Saul Ewing is seeking compensation.

                                                Relief From Stay and Adequate Protection
                                   Professionals         Position         Hours         Compensation

                                M. Minuti            Partner               3.40               $2,584.00
                                A. Isenberg          Partner               1.10                $731.50
                                M. DiSabatino        Partner               0.80                   $360.00
                                R. Warren         Paraprofessional         0.50                 $117.50
                                Total                                      5.80               $3,793.00
                                Minus Agreed Upon Discount                                    ($379.30)
                                Grand Total                                5.80               $3,413.70

                        (o)   UST Reports, Meetings and Issues. This category includes time related to
                              the preparation of operating reports and other information required by the
                              UST or the Court. Time in this category includes reviewing, revising and
                              filing monthly operating reports; and communicating with the Debtors
                              regarding monthly operating reports. Saul Ewing spent 1.70 hours of
                              attorney and paraprofessional time on the foregoing services. Said services
                              have a value of $1,066.00 (discounted to $959.40 for which Saul Ewing is
                              seeking compensation.

                                                    UST Reports, Meetings and Issues
                                   Professionals         Position         Hours         Compensation

                                J. Hampton           Partner               0.60                   $399.00
                                A. Isenberg          Partner               0.90                   $598.50

                                M. DiSabatino        Partner               0.10                    $45.00
                                R. Warren            Paraprofessional      0.10                    $23.50
                                Total                                      1.70               $1066.00
                                Minus Agreed Upon Discount                                    ($106.60)
                                Grand Total                                1.70                   $959.40




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                        (p)    Utilities. This category includes time related to utilities. Time in this
                               category includes communicating with utility provider regarding amounts
                               outstanding. Saul Ewing spent 0.20 of an hour of attorney time on the
                               foregoing services. Said services have a value of $90.00 (discounted to
                               $81.00) for which Saul Ewing is seeking compensation.

                                                                    Utilities
                                    Professionals         Position              Hours        Compensation
                                 M. DiSabatino        Partner                   0.20                   $90.00
                                 Total                                          0.20                   $90.00
                                 Minus Agreed Upon Discount                                            ($9.00)
                                 Grand Total                                    0.20                   $81.00

                        (q)    Expenses. Exhibit D lists expenses, such as copying costs at $.10¢ per page,
                               postage, filing fees, transcripts, charges for telephonic Court appearances,
                               charges for legal research and travel expenses. Saul Ewing seeks
                               $24,949.36 in expenses.

                                                                    EXPENSES

                                    Expense Category           Service Provider (if applicable)   Total Expenses

                                 E-discovery Processing         Saul Ewing Arnstein & Lehr
                                 /Usage                                      LLP                       $10,364.04
                                                               United States Bankruptcy Court
                                 Filing Fees                            (sale motion)                    $181.00

                                 Legal Research                      Westlaw and Lexis                 $14,339.12
                                 Overnight Delivery                    Federal Express                     $65.20
                                 Total                                                                 $24,949.36

                                         Compensation Should Be Allowed

             15.        The foregoing services in the total amount of $476,292.15 provided by Saul Ewing

on behalf of the Debtors during the Application Period were reasonable, necessary and appropriate

to the administration of the Chapter 11 Cases.

             16.        The attorneys who worked on these cases during the Application Period have

various levels and areas of expertise. Accordingly, it was necessary for these attorneys to consult




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with each other on different aspects and issues relating to the Chapter 11 Cases. The attorneys

involved in this case and their areas of expertise is attached hereto as Exhibit F.

             17.        Section 331 of the Bankruptcy Code provides for compensation of professionals

and incorporates the standards of section 330 of the Bankruptcy Code to govern the Court’s award

of such compensation. Section 330 of the Bankruptcy Code provides that a court may award a

professional employed under section 327 of the Bankruptcy Code “reasonable compensation for

actual necessary services rendered . . . and reimbursement for actual, necessary expenses.” 11

U.S.C. § 330(a)(1). Section 330 of the Bankruptcy Code also sets forth the criteria for the award

of such compensation and reimbursement:

                        In determining the amount of reasonable compensation to be awarded, the
                        court should consider the nature, extend, and the value of such services,
                        taking into account all relevant factors, including

                               (a)    the time spent on such services;

                               (b)    the rates charged for such services;

                               (c)    whether the services were necessary to the administration of,
                               or beneficial at the time at which the service was rendered toward
                               the completion of, a case under this title;

                               (d)     whether the services were performed within a reasonable
                               amount of time commensurate with the complexity, importance, and
                               nature of the problem, issue, or task addressed; and

                               (e)     whether the compensation is reasonable based on the
                               customary compensation charged by comparably skilled
                               practitioners in cases other than cases under this title.
11 U.S.C. § 330(a)(3).

             18.        The services performed by Saul Ewing during the Application Period for which

compensation is sought were necessary for, and beneficial to, the Debtors and the Debtors’ estates.

Saul Ewing submits that the compensation sought is reasonable.




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             19.        Saul Ewing submits that the services provided to the Debtors by Saul Ewing during

these Chapter 11 Cases were necessary and appropriate given the complexity of these Chapter 11

Cases, the issues involved, the nature and extent of services provided, and the cost of comparable

services outside of bankruptcy, all of which are factors set forth in section 330 of the Bankruptcy

Code. Accordingly, Saul Ewing respectfully submits that approval of the compensation sought

for the Application Period is appropriate and should be approved.

             20.        Saul Ewing has reviewed the requirements of Del. Bankr. L.R. 2016-2 and believes

that this Application complies with the such requirements.

                                                      Notice
             21.        Notice of this Application is being provided to the Notice Parties identified in the

Interim Compensation Order and to all other parties who have requested notice pursuant to

Bankruptcy Rule 2002.

             22.        No prior request for the relief sought by this Application has been made to this or

any other court.



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             WHEREFORE, Saul Ewing respectfully requests that the Court enter an Order

(i) allowing, authorizing and directing payment of interim compensation in the amount of

$476,292.15 (80% of which is $381,033.72) for legal services rendered on behalf of the Debtors

during the Application Period, together with reimbursement of disbursements in the amount of

$24,949.36; and, (ii) granting such other and further relief as the Court deems just and proper.

Dated: December 31, 2020                      SAUL EWING ARNSTEIN & LEHR LLP

                                        By:   /s/ Monique B. DiSabatino
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                                              Monique B. DiSabatino (DE Bar No. 6027)
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